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                IN THE UNITED STATES DISTRICT COURT

                   FOR THE DISTRICT OF NEW MEXICO


UNITED STATES OF AMERICA,

             Plaintiff,

v.                                                 No. 1:19-MJ-01077 KBM

DANIEL ARCHULETA,

             Defendant.

                             DE NOVO APPEAL
                          FROM DETENTION ORDER


     Defendant, Daniel Archuleta, by and through undersigned counsel,

and pursuant to 18 U.S.C. § 3145, hereby appeals from the Order of

Detention entered in this matter on June 18, 2019.

     Accordingly, Defendant states as follows:

     1.      On April 29, 2019, Defendant was arrested and charged with

Possession with Intent to Distribute 500 grams or more of meth and being

a drug addict in possession of a firearm in violation of 21 U.S.C. 841(a)(1)

and 18 U.S.C. 922(g)(3);

     2.      On April 29, 2019, Defendant appeared for a Preliminary/

Detention hearing; Defendant waived the Preliminary Hearing and was

released to Pre-Trial Services and third party custody to his sister, Alicia;
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                     3.      Defendant provided a drug test upon release, and a second drug

            test on May 6, 2019;

                     4.      On May 13, 2019, Defendant provided a urine sample that

            tested positive for opiates and the PTSO sent the results for a confirmation

            test;

                     5.      In the interim, on April 29, 2019, shortly after the detention

            hearing, the Government filed it’s motion to reconsider the Court’s release

            of the Defendant (Doc. 16);

                     6.      The Defendant filed his full Response1and Subsequent

            Response on May 6, 2019 and May 10, 2019 (Docs. 17 & 18).

                     7.      On May 20, 2019, the Court entertained a hearing on the

            Government’s motion and the Defendant’s Response; evidence was taken

            and, after a lengthy hearing, the Court denied the Government’s motion an

            continued the Defendant’s release. However, the Court noted that if the

            presumptive results of the May 13, 2019 drug test were in fact, positive, it

            would reconsider the motion;

                     8.      On June 18, 2019, roughly five weeks after the May 13, 2019

            urine test, the Court held a hearing on reconsideration of the Defendant’s

            release; following argument of the parties, the Court revoked the

            Defendant’s release and remanded Defendant into custody.



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                    Note that Defendant filed an objection to the Government’s motion due to its request not
            being in compliance with local rule.
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                     9.      The Court’s ruling was based entirely on the May 13, 2019 urine

            test, despite the fact that the May 13, 2019 test as the only allegation of the

            Defendant’s non compliance with conditions of release;

                     10.     During the entire time of the Defendant’s release, from April

            29, 2019 to June 18, 2019, the Defendant had been in full compliance with

            all conditions including clean urine , attending weekly counseling with the

            Evolution Group, full time employment with a property management

            company, and residing with the third party custodian;

                     11.     Defendant argues that Defendant should not have been

            remanded into custody and he should be re-released on conditions.

                     WHEREFORE, Defendant respectfully requests the Court reconsider

            its Order remanding the Defendant into custody and re-release him on

            conditions.
                                                       Respectfully submitted,

                                                       Michael V. Davis
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                                                       FILED ELECTRONICALLY

                                                  By: /s/ Michael V. Davis
                                                     Michael V. Davis
                                                     Attorney for Defendant Daniel Archuleta

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                                             CERTIFICATE OF SERVICE

            I HEREBY CERTIFY that I filed the foregoing document electronically
            through the CM/ECF system. Pursuant to the CM/ECF Administrative
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            parties of record.



                         KRISTOPHER HOUGHTON, Assistant United States Attorney
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             /s/ Michael V. Davis
            Michael V. Davis




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